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    EXHIBIT D
    F.V. vs. Jeppesen, et al., Case No. 1:17-cv-000170-CWD



    Summary of Plaintiffs’ counsels’ ADJUSTED hours and rates for all post-judgment work



Attorney                          Requested Hours      Adjusted Hours     Adjusted Rate      Adjusted Fees

                       20201             312                 166.9             $360           $60,084.002
Peter Renn
                       20213            84.6                 25.5              $370            $9,435.00
                        2020             197                 163.1             $210            $34,251.00
Nora Huppert
                        2021            80.8                 27.6              $220            $6,072.00
                        2020            94.5                 87.6              $270            $23,652.00
Kara Ingelhart
                        2021            15.1                  3.6              $280            $1,008.00
                        2020            24.9                 17.4              $410            $7,134.00
Monica Cockerville
                        2021             4.8                  1.9              $410             $779.00

Jamie Farnsworth,       2020            37.9                 25.5              $175            $4,462.50
Paralegal               2021             7.5                  1.8              $175             $315.00

                         Total          859.1                520.9                           $147,192.502


    _____________________________
    1
     An attorney’s adjusted 2020 hours reflect the attorney’s individual time spent on all post-
    judgment work in 2020, less the time this attorney spent on Plaintiffs’ first motion to clarify,
    which was filed in 2020. For the time each attorney spent on Plaintiffs’ first motion to clarify,
    see Ex. A-2 to Olsen Dec.

    2
     To calculate the adjusted fees, an attorney’s adjusted hours are multiplied by the attorney’s
    adjusted rate (i.e., the corresponding Boise rates set forth in Plaintiffs’ Lloyd Declaration).

    3
     An attorney’s adjusted 2021 hours reflect the attorney’s individual time spent on all post-
    judgment work in 2021, but also reflects an adjustment to the time this attorney spent on
    Plaintiffs’ fee petition, which was filed in 2021. To illustrate, with respect to attorney Peter
    Renn, he logged 84.6 hours as his total 2021 hours. Of those 84.6 hours in 2021, he logged 77
    hours for preparing Plaintiffs’ fee petition alone. See Ex. B-2 to Olsen Dec. Because the amount
    of hours Mr. Renn spent on the fee petition is excessive, his hours working on the fee petition
    should be reduced to 17.9 hours, for the reasons noted in Defendants’ opposition brief. To
    arrive at Mr. Renn’s adjusted 2021 hours, Defendants used the following calculation: 84.6 – 77
    = 7.6 + 17.9 = 25.5. Thus, Mr. Renn’s adjusted 2021 hours is 25.5.
